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 8                         UNITED STATES DISTRICT COURT
 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,            No. CR 2:22-cr-00410-MWF
11             Plaintiff,                 I N F O R M A T I O N
12                    v.                  [18 U.S.C. § 641: Conversion of
                                          Government Property in Excess of
13   ALVARD GRIGORYAN,                    $1,000]
14             Defendant.
15

16        The United States Attorney charges:
17                              [18 U.S.C. § 641]
18   A.   INTRODUCTORY ALLEGATIONS
19        At times relevant to this Information:
20                Defendant ALVARD GRIGORYAN was a resident of Glendale,
21   California.
22                GMD Home Health Care, Inc. (“GMD”) was a home health
23   agency located in Glendale, California.       GMD had a business
24   checking account with a domestic bank ending in 7499 (“the GMD
25   Account”).    Defendant GRIGORYAN owned GMD and was a signatory on
26   the GMD Account.
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 1             In approximately December 2019, GMD laid off its

 2   employees and ceased operations.

 3             On or about March 3, 2020, the Centers for Medicare
 4   and Medicaid Services (“CMS”) revoked GMD’s Medicare Program
 5   (“Medicare”) billing privileges effective December 19, 2019.
 6        Medicare
 7             Medicare provided health care benefits to individuals
 8   who were 65 years and older or disabled.        Medicare was
 9   administered by CMS, a federal agency under the United States
10   Department of Health and Human Services (“HHS”).         Medicare was a
11   “health care benefit program,” as defined by 18 U.S.C. § 24(b),
12   in that it was a public plan or contract affecting commerce, and
13   a “federal health care program,” as defined by 42 U.S.C.
14   § 1320a-7b(f).
15             Medicare was divided into different program “parts”:
16   Part A (hospital services), Part B (physician services), Part C
17   (Medicare Advantage), and Part D (prescription drug coverage).
18        The CARES Act Provider Relief Fund
19             In March 2020, Congress passed the Coronavirus Aid,
20   Relief, and Economic Security (“CARES”) Act, which was designed
21   to provide emergency financial assistance to the millions of
22   Americans suffering due to the COVID-19 pandemic.
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 1             The CARES Act appropriated moneys (the “Provider

 2   Relief Fund”) to help health care providers (“Providers”) who
 3   were financially impacted by COVID-19, as well as to provide
 4   care to patients who were suffering from COVID-19 and compensate
 5   Providers for the cost of that care.       HHS, through its agency,
 6   the Health Resources and Services Administration (“HRSA”),
 7   oversaw and administered the Provider Relief Fund.
 8             In order to rapidly provide funding to Providers
 9   during the pandemic, HRSA distributed payments under the CARES
10   Act Provider Relief Fund (“Provider Relief Fund Payment” or
11   “Payment”) to Providers who: (a) billed Medicare fee-for-service
12   (Parts A or B) in Calendar Year 2019; (b) were not currently
13   terminated from participation in Medicare or precluded from
14   receiving payment through Medicare Advantage or Part D; (c) were
15   not currently excluded from participation in Medicare or other
16   federal health care programs; and (d) did not currently have
17   Medicare billing privileges revoked.       Providers meeting these
18   criteria automatically received the Provider Relief Fund Payment
19   and did not have to apply for the funding but were required to
20   comply with the terms and conditions of the Provider Relief Fund
21   (“Terms and Conditions”) if they retained such funding.
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 1        Terms and Conditions of Provider Relief Payment

 2             Provider Relief Fund recipients attested to their
 3   compliance with the Terms and Conditions in one of two ways.
 4   First, Provider Relief Fund recipients were notified that they
 5   could submit an attestation through an online portal confirming
 6   receipt of the funds and agreeing to the Terms and Conditions.
 7   Second, recipients were notified that, if they kept the money
 8   for a period that exceeded 90 days from receipt, they were
 9   deemed to have accepted the Terms and Conditions of the Provider
10   Relief Fund.
11             Providers who attested to the Terms and Conditions
12   acknowledged that their commitment to full compliance with the
13   terms and conditions was material to the HHS Secretary’s
14   decision to disburse Provider Relief Fund Payments to them.
15   Providers further acknowledged that noncompliance with any Term
16   or Condition could cause the HHS Secretary to recoup some or all
17   of the Payment.
18             Providers who attested to the Terms and Conditions
19   certified that they:
20             a.      billed Medicare in Calendar Year 2019;
21             b.      provided diagnoses, testing, or care for
22   individuals with possible or actual cases of COVID-19 after
23   January 31, 2020;
24             c.      were not then terminated from participation in
25   Medicare or precluded from receiving payment through Medicare
26   Advantage or Part D;
27             d.      were not then excluded from participation in

28   Medicare or other federal health care programs;
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 1              e.   did not then have Medicare billing privileges

 2   revoked;

 3              f.   would only use the Payment to prevent, prepare

 4   for, and respond to coronavirus, and that the Payment would

 5   reimburse the recipient only for health-care-related expenses or

 6   lost revenues that were attributable to coronavirus;

 7              g.   provided information relating to the Payment that

 8   was true, accurate, and complete and that any deliberate

 9   omission, misrepresentation, or falsification of any information

10   was punishable by, inter alia, criminal penalties, including but

11   not limited to imprisonment; and
12              h.   would maintain appropriate records and cost
13   documentation to substantiate the reimbursement of costs under
14   the disbursement.
15   B.    CONVERSION OF GOVERNMENT PROPERTY
16              On or about April 27, 2020, in Los Angeles County,
17   within the Central District of California, and elsewhere,
18   defendant GRIGORYAN knowingly and willfully converted to her own
19   use, and the use of another, property of HHS, a department and
20   agency of the United States, having a value in excess of $1,000,
21   namely, money in the amount of $7,000, taken from an
22   approximately $66,423.18 payment from the Provider Relief Fund
23   ///
24   ///
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 1   that was deposited into the GMD Account on or about April 17,

 2   2020, to which defendant GRIGORYAN knew she was not entitled,

 3   with the intent to deprive HHS of the use and benefit of that

 4   money.

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 6                                     TRACY L. WILKISON
                                       United States Attorney
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 9                                     SCOTT M. GARRINGER
10                                     Assistant United States Attorney
                                       Chief, Criminal Division
11
                                       KRISTEN A. WILLIAMS
12                                     Assistant United States Attorney
                                       Acting Chief, Major Frauds Section
13
                                       JOSEPH S. BEEMSTERBOER
14
                                       Acting Chief, Fraud Section
15                                     U.S. Department of Justice

16                                     NICHOLAS K. PEONE
                                       Trial Attorney, Fraud Section
17                                     U.S. Department of Justice
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